        Case 1:98-cr-05183-LJO Document 226 Filed 11/13/06 Page 1 of 3


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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    GERARDO HERRERA-GONZALEZ,         )       No. CV-F-02-5709 OWW
                                       )       (No. CR-F-98-5183 OWW)
10                                     )
                                       )       ORDER DENYING PETITIONER'S
11                   Petitioner,       )       MOTION FOR ORDER GRANTING
                                       )       PERMISSION TO MODIFY GROUND
12             vs.                     )       FOUR AND TO FILE
                                       )       SUPPLEMENTAL POINTS AND
13                                     )       AUTHORITIES (Doc. 225),
     UNITED STATES OF AMERICA,         )       DIRECTING CLERK OF COURT TO
14                                     )       CHANGE PETITIONER’S ADDRESS
                                       )       ON DOCKET AND SERVE
15                   Respondent.       )       PETITIONER WITH DOCS. 220
                                       )       AND 221
16                                     )

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          On June 11, 2002, petitioner Gerardo Herrera-Gonzalez filed
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     a timely Motion to Vacate, Set Aside or Correct Sentence pursuant
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     to 28 U.S.C. § 2255.     Ground Four of the motion asserted that
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     petitioner was denied the effective assistance of counsel because
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     counsel “fail[ed] to object to the failure of the indictment to
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     show all elements of the offense charged.”
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          By Order filed on September 4, 2003, petitioner’s motion for
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        Case 1:98-cr-05183-LJO Document 226 Filed 11/13/06 Page 2 of 3


1    relief with respect to Ground Four was denied.         The United States

2    was ordered to respond to the other grounds for relief asserted

3    in the motion.    (Doc. 208).     By Order filed on June 15, 2004,

4    petitioner’s Section 2255 motion was denied and judgment for

5    respondent was entered on June 16, 2004.        Petitioner was served

6    by mail with the June 15, 2004 Order and the June 16, 2004

7    Judgment.    However, service was returned with the notification

8    “return to sender - gone” on June 28, 2004.        Petitioner did not

9    file a notice of change of address.

10        Service on petitioner was effective pursuant to Rule 83-

11   182(f), Local Rules of Practice.1

12        On August 16, 2005, petitioner filed a “Motion for Order

13   Granting Permission to Modify Ground Four, and To File

14   Supplemental Memorandum of Points and Authorities.”          In this

15   motion, petitioner asserts: “[P]etitioner was at the BOP facility

16   in Lompoc, California when he filed his initial pleading.

17   Petitioner is presently at FCI Safford, in Safford, Arizona,

18   having been transferred here in April, 2004.”         Petitioner seeks

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           Rule 83-182(f),     Local    Rules   of   Practice,    provides   in
20   pertinent part:
21               Each ... party appearing in propria persona is
                 under a continuing duty to notify the Clerk
22               and all other parties of any change of address
                 or telephone number ... of the party if
23               appearing in propria persona.     Absent such
                 notice, service of documents at the prior
24               address of the ... party shall be fully
                 effective.   Separate notice shall be filed
25               with the Clerk and served on all parties in
                 each action wherein an appearance has been
26               made.

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         Case 1:98-cr-05183-LJO Document 226 Filed 11/13/06 Page 3 of 3


1    to amend Ground Four to read “United States v. Booker/Ameline III

2    render Petitioner’s Sentence Void, Ab Initio.”

3          The relief requested in petitioner’s motion is futile and

4    does not change the conclusion in the September 4, 2003 Order.

5    The Supreme Court’s decision in United States v. Booker, 543 U.S.

6    220 (2005), does not apply retroactively to cases on collateral

7    review.      United States v. Cruz, 423 F.3d 1119 (9th Cir.2005),

8    cert. denied, ___ U.S. ___, 126 S.Ct. 1181 (2006).           United States

9    v. Ameline, 409 F.3d 1073 (9th Cir.2005), has no application to

10   petitioner because Ameline is limited to cases on direct

11   appellate review that were pending when Booker was decided.

12         ACCORDINGLY, as set forth above:

13         1.     Petitioner’s “Motion for Order Granting Permission to

14   Modify Ground Four, and To File Supplemental Memorandum of Points

15   and Authorities” is DENIED.

16         2.     The Clerk of the Court is directed to enter petitioner’s

17   address on the docket:

18                 Gerardo Herrera-Gonzalez
                   #58363-097
19                 FCI Safford
                   P.O. Box 9000
20                 Safford, AZ 85548

21   The Clerk of the Court is directed to serve Docs. 220 and 221 on

22   petitioner at this address.

23   IT IS SO ORDERED.

24   Dated:     November 9, 2006            /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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